        Case 6:20-cv-00533-ADA Document 28 Filed 10/26/20 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                          WACO DIVISION
WSOU INVESTMENTS LLC                       §
                                           §     CIVIL NO:
vs.                                        §     WA:20-CV-00533-ADA
                                           §
HUAWEI TECHNOLOGIES CO., LTD.,             §
HUAWEI TECHNOLOGIES USA INC.,
HUAWEI TECHNOLOGIES USA INC.,
HUAWEI TECHNOLOGIES CO., LTD.,
WSOU INVESTMENTS LLC

                ORDER SETTING MARKMAN HEARING
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
MARKMAN HEARING in District Courtroom #1, on the Third Floor of the United States
Courthouse, 800 Franklin Ave, Waco, TX, on Thursday, April 15, 2021 at 09:00 AM. All
parties and counsel must appear at this hearing.

       IT IS SO ORDERED this 26th day of October, 2020.




                                           ______________________________
                                           ALAN D ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE
